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                                                                               2025 May-20 AM 10:01
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                        MIDDLE DIVISION

UNITED STATES OF AMERICA )
                         )
v.                       ) Case No. 4:23-cr-383-CLM-NAD
                         )
AIMAN AKRAM KAIF, et al. )

                         NOTICE OF APPEARANCE

      COMES NOW the United States of America, by and through its counsel, Prim

F. Escalona, United States Attorney for the Northern District of Alabama, and Brett

A. Janich, Assistant United States Attorney, and gives this Honorable Court notice

of the appearance of Assistant United States Attorney, Brett A. Janich, as Co-

Counsel for the government in the above-styled case.

      Respectfully submitted this 20th day of May 2025.

                                            PRIM F. ESCALONA
                                            United States Attorney

                                            /s/ Brett A. Janich
                                            BRETT A. JANICH
                                            Assistant United States Attorney
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                         CERTIFICATE OF SERVICE

      I hereby certify that the foregoing has been filed with the Court using the

Court’s CM/ECF system which will send notification of such filing to all parties of

record on this the 20th day of May 2025.

                                               /s/ Brett A. Janich
                                               BRETT A. JANICH
                                               Assistant United States Attorney




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